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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION


 JAMES L. SHELTON and VIRGINIA L.
 SHELTON,

                     Plaintiffs,

 v.                                                     Case No: 5:17-cv-86-Oc-40PRL

 DWIGHT C. SCHAR, PAUL E.
 SIMONSON, DCS INVESTMENTS
 HOLDINGS GP, LLC, DCS REAL
 ESTATE INVESTMENTS, LLC, DCS
 REAL ESTATE INVESTMENTS I, LLC,
 DCS REAL ESTATE INVESTMENTS II,
 LLC, DCS REAL ESTATE
 INVESTMENTS III, LLC, DCS REAL
 ESTATE INVESTMENTS IV, LLC, DCS
 REAL ESTATE INVESTMENTS IV-A,
 LLC, DCS REAL ESTATE
 INVESTMENTS V, LLC, BELLA
 COLLINA PROPERTY OWNERS
 ASSOC., INC., DAVID BURMAN,
 AEGIS COMMUNITY MANAGEMENT
 SOLUTIONS, INC., RANDALL F.
 GREENE, KEITH CLARKE, PAUL
 LEBREUX, RICHARD C. ARRIGHI,
 JAMES D. RYAN, MICHAEL J. RYAN,
 THE RYAN LAW GROUP, LLC,
 CULLEN D’AMBROSIO, ROCKING
 RED H, LLC, RICKY L. SCHARICH and
 BELLA COLLINA TOWERS, LLC,

                     Defendants.
                                        /

                                        ORDER

       This cause is before the Court on Plaintiffs’ Motion to Voluntarily Dismiss (Doc.

 236), and Defendants’ Response in Opposition (Doc. 239). Plaintiffs seek to voluntarily

 dismiss this action without prejudice, with both sides bearing their own attorneys’ fees
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 and costs. For the reasons discussed herein, Plaintiffs’ Motion will be granted in part and

 denied in part.

 I.     BACKGROUND

        Plaintiffs initiated this action in March 2017, alleging a number of complex claims

 and conspiracies, including a federal racketeering claim under 18 U.S.C. § 1962. (Doc.

 1). The ninety-one-page Complaint alleged eighteen different causes of action and named

 ten plaintiffs and over twenty-four defendants. (Id.). Defendants responded to the

 Complaint by filling a Motion for a More Definite Statement. (Doc. 8). Defendants argued

 that the Complaint was a “shotgun pleading” and that Plaintiffs should be ordered to file

 an Amended Complaint.

        The Motion for a More Definite Statement was denied by the Magistrate Judge,

 who found that the Complaint was distinguishable from a shotgun pleading. (Doc. 40).

 Each Defendant subsequently moved to dismiss the Complaint. On February 7, 2018,

 nearly a year after the original Complaint was filed, the Court granted Defendants’ Motion

 to Dismiss, finding that the Complaint was indeed a shotgun pleading and that repleader

 was needed. The Court did not reach the merits of Plaintiffs’ claims. (Doc. 201).

        During the eleven months Defendants’ Motions to Dismiss were pending, several

 Plaintiffs voluntarily dismissed their claims under Federal Rule of Civil Procedure 41(a)(1)

 (the “Former Plaintiffs”). Defendants sought an award of attorneys’ fees for costs incurred

 defending the action against the Former Plaintiffs. The Magistrate Judge granted the

 Motion for Attorneys’ Fees (Doc. 232), and this Court later affirmed the Magistrate Judge’s

 Order (Doc. 246).




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        In March of 2018, the remaining Plaintiffs—James L. Shelton and Virginia L.

 Shelton (the “Sheltons”)—filed an Amended Complaint. On May 9, 2018, the Sheltons

 filed the instant motion, seeking to dismiss this action without prejudice, with each side

 bearing their own attorneys’ fees. Defendants oppose, arguing that dismissal should be

 with prejudice and that Defendants should be granted reasonable attorneys’ fees incurred

 in defending this action.

 II.    DISCUSSION

        Federal Rule of Civil Procedure 41(a)(2) states that “[e]xcept as provided in Rule

 41(a)(1), an action may be dismissed at the plaintiff's request only by court order, on

 terms that the court considers proper.” “The plaintiff's right to a voluntary dismissal without

 prejudice is not absolute,” but “in most cases a dismissal should be granted unless the

 defendant will suffer some legal harm.” LeCompte v. Mr. Chip, Inc., 528 F.2d 601, 604

 (5th Cir. 1976). 1 In considering whether a defendant would suffer legal prejudice, “the

 Court should consider such factors as the defendant's effort and expense of preparation

 for trial, excessive delay and lack of diligence . . . in prosecuting the action, insufficient

 explanation for . . . a dismissal, and whether a motion for summary judgment has been

 filed by the defendant.” Pezold Air Charters v. Phx. Corp., 192 F.R.D. 721, 728 (M.D. Fla.

 2000) (quotation omitted). “[I]n most cases a dismissal should be granted unless the

 defendant will suffer clear legal prejudice, other than the mere prospect of a subsequent

 lawsuit, as a result.” McCants v. Ford Motor Co., 781 F.2d 855, 856–57 (11th Cir. 1986)

 (emphasis omitted).



 1     Decisions of the Fifth Circuit entered before October 1, 1981, are binding on the
       courts of the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
       Cir. 1981).



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        The Court may, however, condition a dismissal without prejudice on the payment

 of reasonable fees and costs. Id. at 860. This remedy is appropriate where it is necessary

 to protect the nonmoving party's interests. Fisher v. Puerto Rico Marine Mgmt., Inc., 940

 F.2d 1502, 1503 (11th Cir. 1991) (per curiam) (“[W]hen exercising its discretion in

 considering a dismissal without prejudice, the court should keep in mind the interests of

 the defendant, for Rule 41(a)(2) exists chiefly for protection of defendants.”).

        After reviewing the parties’ briefs and record, the Court finds that Defendants will

 not suffer clear legal prejudice should the Sheltons be permitted to voluntarily dismiss this

 action without prejudice. However, Defendants have been put through considerable

 expense in defending against Plaintiffs’ claims, and should be permitted to seek an award

 of attorneys’ fees if such an award is available under the various statutes raised in

 Plaintiffs’ Complaint.

 III.   CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. Plaintiffs’ Motion to Dismiss Voluntarily (Doc. 236) is GRANTED IN PART AND

           DENIED IN PART:

               a. The Motion to Dismiss this action without prejudice is GRANTED.

               b. The request for an order directing the parties to bear their own fees and

                   costs is DENIED.

        2. This action is DISMISSED WITHOUT PREJUDICE.

        3. The Clerk of Court is DIRECTED to terminate any pending motions (Docs. 217,

           224, and 225) and to thereafter close the file.




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       4. The Court retains jurisdiction to resolve any remaining issues on attorneys’ fees

           and costs.

       DONE AND ORDERED in Orlando, Florida on August 2, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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